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                        United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA


(See Attachment)
                                                           Civil Action No. 18cv02247-CAB-MDD

                                             Plaintiff,
                                      V.
                                                                      AMENDED
(See Attachment)                                             JUDGMENT IN A CIVIL CASE


                                           Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
For the foregoing reasons, it is hereby ORDERED that the motion for default judgment is DENIED,
and the SAC is DISMISSED for failure to state a claim against Bargain Electricity, Smith, and Berges.
Case Closed. It is SO ORDERED.




Date:          9/4/19                                         CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ A. Hazard
                                                                                   A. Hazard, Deputy
    Case 3:18-cv-02247-CAB-MDD Document 76 Filed 09/04/19 PageID.2372 Page 2 of 2

                         United States District Court
                              SOUTHERN DISTRICT OF CALIFORNIA

                                           (ATTACHMENT)

                                                                   Civil Action No. 18cv02247-CAB-MDD


Anton Ewing an individual ,
  Plaintiff

Encor Solar, LLC a Utah limited liability company; Daniel Larkin an individual and officer of Encor Solar,
LLC ; Garrett Smith an individual and manager of Encor Solar, LLC; Sunrun, Inc. a Delaware corporation;
Bargain Electricity, Inc a Florida corporation; Reinaldo A. Berges an individual and officer of Bargain
Electricity, Inc. also known as Ray Alonso
  Defendants.
